   Case 3:11-cr-00119-DRD       Document 53      Filed 09/06/11   Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                            CRIMINAL 11-0119CCC
 1) JORGE REVEROL-RIVERA
 2) RAYMOND HERNANDEZ-GARCIA
 Defendants


                                        ORDER

       Having considered the Report and Recommendation filed on August 29, 2011
(docket entry 50) on a Rule 11 proceeding of co-defendant Raymond Hernández-García (2)
held before U.S. Magistrate Judge Camille L. Vélez-Rivé on August 29, 2011, to which no
opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant Raymond Hernández-García (2) is accepted. The Court FINDS that his plea was
voluntary and intelligently entered with awareness of his rights and the consequences of
pleading guilty and contains all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since August 29, 2011. The sentencing hearing is set for December 7,
2011 at 4:30 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on August 31, 2011.


                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
